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EXHIBIT F
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Michael Allen

From:                           Stowers, Renaldo <Renaldo.Stowers@untsystem.edu>
Sent:                           Wednesday, October 14, 2020 7:47 PM
To:                             Michael Allen
Subject:                        Dr. Timothy Jackson



Michael,

I don’t know why you were unable to get me yesterday as I was in the office all day. If you have trouble
reaching me in the future, please call 940.565.2717 and someone on our staff will transfer you or ensure I get
your message.

In regard to your question, I do not have any way of knowing the content or source(s) of the documents Dr.
Jackson wants to disclose or to whom he wishes to disclose them. I also am not aware that he has provided a
copy to the documents to any university official. Therefore, I am cannot authorize or ask my client to
authorize Dr. Jackson to disclose official university or student education records outside the university without
the students written and signed consent. I can inform you that university policy and FERPA prohibit Dr.
Jackson from disclosing student’s education records except as authorized by law.

As far as disclosing confidential education records within the university, as I’m sure you are aware given your
time as a university faculty member, Dr. Jackson can disclose personally identifiable information from student
education records to other university officials when those individuals have a legitimate educational interest in
the information. Department of Education guidance provides that a university official “generally has a
legitimate educational interest if the official needs to review an education record in order to fulfill his or her
professional responsibility.” See https://www2.ed.gov/policy/gen/guid/fpco/ferpa/students.html. Again, I do
not know the content of the records you are referencing and therefore cannot authorize or ask my client to
authorize him to disclose them without the student’s written and signed consent. That sai d, should Dr. Jackson
wish to provide the review committee information that relates to the committee’s charge (as it has been
articulated to him and not as you and he have mistakenly characterized it) he is welcome to provide the
information to the committee. I presume you will advise him concerning the information that reasonably
relates to the committee’s stated charge.

In regard to disclosing confidential education records outside the university, UNT does not agree with your
and Dr. Jackson’s belief that he is “entitled to use student records,” in public or otherwise, to defend himself
or the university in traditional or social media simply because he believes a student has placed his or her
education record in issue. Based on Dr. Jackson’s citation to the undated (and old) letter to Cornell University
in support of this contention, I presume you and he are interpreting 34 CFR 99.31(a)(9)(iii)(B), which allows an
“institution” to disclose personally identifiable information from a student’s education records to the court if
the student “initiate[s] legal action against…[the] institution.” This exception is narrow and does not apply in
this instance. First, this provision does not authorize an individual faculty member to disclose student
education records without the student’s signed consent, nor does it make an individual faculty member an
agent of the institution for this purpose. Second, Dr. Jackson does not represent that a student has initiated
legal action against the university (or him) and the university is not aware of such an action.

To ensure there is no confusion, Dr. Jackson is not authorized to disclose information from any UNT student’s
education record externally or internally under the exception you and he mention, nor is he authorized to act
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on behalf of the university in relation any legal action he believes a student may have initiated against UNT
regarding this matter. I represent to you that the university is not aware of any such action and would
appreciate you letting me know if you are aware of any. I presume you will advise Dr. Jackson appropriately
regarding the possible consequences of him disclosing confidential student information (outside the course
and scope of his employment (individual capacity), and the actions he can take as a private individual if he
believes he has a cause of action for defamation.

As far as Dr. Jackson’s request to initiate a grievance, both you and he have been directed to the faculty
grievance policy and the provost has informed him what he should do if he legitimately believes he has one.
The university and I also have responded to your and Dr. Jackson’s inquiries concerning the policies and rules
under which the review committee is operating.

Finally, your transparent mischaracterizations of the university’s review of the production of volume 12 of the
journal does not change the facts that UNT is not ignoring policy, is not breaching Dr. Jackson’s contract, and is
not violating academic freedom or his First Amendment rights. In fact, your repeated mischaracterizations will
not fabricate any causes of action and belie any sincere intent on your part to look for an “alternate, clear path
forward” as any such path requires a mutual respect for the facts and the truth. While I sincerely believe the
path the university is taking is both legal and appropriate, I am happy to discuss this matter with you if the
discussion can be based on facts. I see no benefit in engaging in a discussion or further correspondence about
how the law might apply to fictions.

I believe you will be on the video conference with Dr. Jackson Friday. I look forward to seeing you at that time
if we do not talk before then.

Have a good evening.

Renaldo L. Stowers
Senior Associate General Counsel
Office of General Counsel
_________________________________
UNIVERSITY OF NORTH TEXAS SYSTEM
1155 Union Circle #310907 ● Denton, Texas 76203
Office: 940.565.2717 ● Fax: 940.369.7026
www.untsystem.edu


From: Michael Allen <m.allen@allen-lawfirm.com>
Sent: Wednesday, October 14, 2020 6:55 AM
To: Stowers, Renaldo <Renaldo.Stowers@untsystem.edu>
Subject: [EXT] Timothy Jackson's harassment

Dear Renaldo,

I tried calling your office yesterday but failed to reach you. My client has reached out Provost Cowley to request the
position of the UNT on his disclosure of internal correspondence of the Journal of Schenkerian Studies in order to defend
himself from accusations in the media as well as on social media which have now transitioned from the mere irrational
to express defamatory, false statements subject to disproof through the correspondence of the editorial staff.



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Mr. Jackson will provide this correspondence to the Ad Hoc committee that has been set up and which continues to
harass the Journal due to its publication of unpopular viewpoints critical of so-called “critical race theory” in Volume
12. Some of this correspondence is between a graduate student editor of the journal, and thus potentially counts as
protected information under FERPA. However, as explained in the attached letter Mr. Jackson sent to Provost Cowley,
only to have it ignored and the issue evaded (see Provost Cowley’s response), Professor Jackson is entitled to use
student records, even in public, where the student placed the records at issue, such as by making defamatory
statements adverse to the university and to Professor Jackson.

Can you please let me know if the university objects to Professor Jackson’s use of these records to defend himself both
within the university, where I cannot conceive that any FERPA issue arises, as well as outside the university? Perhaps
the university can also raise the issue of the defamatory content of these documents with the student directly, Mr. Levi
Walls, whose unfortunate buckling under pressure, given UNT’s condoning of the irrational social media mob attempting
to police free and open academic discourse surrounding this issue, is as lamentable as it is understandable. Professor
Jackson has no desire to expose Mr. Walls and wishes to keep Mr. Walls name protected from unnecessary
scrutiny. However, there can be no justification for defamation, and even less university protected and sanctioned
defamation and harassment.

In addition, Professor Jackson has renewed his request that UNT initiate a grievance procedure due to his, Center for
Schenkerian Studies, and the journal’s harassment by UNT’s administration. This is a clear violation of UNT policies
guaranteeing academic freedom and first amendment rights, for which UNT is attracting negative attention in the
national press. It is my understanding that UNT and, in particular, Provost Cowley, Dean Richmond, and Department
Chair Brand continue to ignore UNT policy and breach contract by not only violating these rights through the
prosecution of the so-called “ad hoc” (i.e. without any foundation in the rules or policies of the university) journal review
panel investigating Professor Jackson and the journal, but also by refusing to initiate grievance proceedings to vindicate
Professor Jackson’s rights.

There seems an alternative, clear path forward in which UNT could distinguish itself nationally as an institution willing to
stand up for academic freedom and open scholarly discourse rather than condoning the kind of social media character
assassination and the vituperation of graduate students and faculty focused on Professor Jackson, the center, and the
journal, which have distinguished UNT for decades.

Finally, Professor Jackson has repeatedly requested that UNT and its so called “Ad Hoc Journal Review Panel” indicate
what UNT policies and rules are being used as standards for evaluation. So far, none have been identified. Can you
please indicate what rules or policies are being applied here?

Thank you for your attention to this matter. Please call me if you would like to discuss.

Mike

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